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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


JULIA BONNER, as Administrator of the                 )
Estate of SYLVESTER BONNER, Jr.,                      )
Deceased,                                             )
                                                      )
                        Plaintiff,                    ) Case No. 12 C 0981
        v.                                            )
                                                      ) Judge Manish S. Shah
DANIEL O’TOOLE, UNKNOWN                               )
OFFICERS OF THE CHICAGO POLICE                        )
DEPARTMENT, and CITY OF CHICAGO,                      )
                                                      )
                        Defendants.                   )


   PLAINTIFF’S MOTION FOR JUDGMENT ON PLAINTIFF’S BILL OF COSTS

        Plaintiff, Julia Bonner, as Administrator of the Estate of Sylvester Bonner, Jr.,

Deceased, by and through her attorneys, Irene K. Dymkar, Torreya L. Hamilton, and

Shamoyita M. DasGupta, hereby moves this Court to enter judgment on plaintiff’s Bill of

Costs. In support thereof, she states:

        1.      This action was commenced by the filing of a complaint alleging a cause of

action under the Civil Rights Act of 1871 (42 U.S.C. §1983), to redress deprivations of the

civil rights of plaintiff through acts and/or omissions of defendant committed under color of

law.

        2.      This case proceeded to trial on September 18, 2018.

        3.      Judgment was entered in plaintiff’s favor on September 21, 2018. As the

prevailing party, plaintiff is entitled to costs.

        4.      Plaintiff filed her Bill of Costs for a total amount of $17,460.88 on October

19, 2018. See Doc. 496.
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         5.    Plaintiff hereby requests that this Court enter judgment on plaintiff’s Bill of

Costs.

         WHEREFORE, plaintiff, JULIA BONNER, as Administrator of the Estate of

Sylvester Bonner, Jr., Deceased, respectfully requests that this Court enter judgment on

plaintiff’s Bill of Costs in the amount of $17,460.88.


Dated: October 19, 2018                                  /s/   Shamoyita M. DasGupta
                                                               Shamoyita M. DasGupta


Plaintiff’s Attorneys:
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